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               Exhibit B
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                                                                  Feedback
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    •I
          CHARLOTTE NC DISTRIBUTION CENTER
          November 18, 2022, 11:37 am


          Arrived at USPS Regional Origin Facility
          ATLANTA NORTH METRO DISTRIBUTION CENTER
          November 17, 2022, 11:02 pm
    •

          USPS in possession of item
          ATLANTA, GA 30306
          November 17, 2022, 11:49 am


          Hide Tracking History




         Text & Email Updates                                                         V


         USPS Tracking Plus®                                                          V

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         Product Information                                                          V §:
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Track Another Package


I   Enter tracking or barcode numbers




                                           Need More Help?
                              Contact USPS Tracking support for further assistance.


                                                       FAQs
